                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION
                            5:21-CV-00371-BO

 SONYA CALLOWAY-DURHAM,

       Plaintiff,

 v.

 N.C. DEPARTMENT OF JUSTICE,
 JOSHUA H. STEIN, in his individual
                                                  DEFENDANTS’ REPLY
 and official capacity as Attorney
                                                MEMORANDUM OF LAW IN
 General, LESLIE COOLEY
                                              SUPPORT OF THEIR MOTION TO
 DISMUKES, in her individual and
                                              DISMISS AMENDED COMPLAINT
 official capacity as Criminal Bureau
 Chief, SHANNON CASSELL, in her
 individual and official capacity as former
 Civil Bureau Chief, and ALANA
 DANIELLE MARQUIS ELDER, in her
 individual and official capacity as Senior
 Deputy Attorney General,

       Defendants.


      Pursuant to Local Civil Rules 7.1(g)(1) and 7.2(f)(2)(C), defendants North

Carolina Department of Justice (“NCDOJ”), Joshua H. Stein, Leslie Cooley

Dismukes, Shannon Cassell, and Alana Danielle Marquis Elder, by and through their

counsel, submit this reply to address matters initially raised by Plaintiff in her

response to Defendants’ motion to dismiss.

I.    DEFENDANTS ARE IMMUNE FROM LIABILITY FOR STATEMENTS
      MADE DURING THE GRIEVANCE PROCEEDINGS.

      In her opposition brief, Plaintiff argues that testimony given at her grievance

hearing serves as sufficient factual basis for certain of her claims in this action.

Specifically, she argues that she states a viable claim against defendant Cassell for



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Plaintiff’s non-promotion because Cassell allegedly provided false testimony at the

grievance hearing due to a discriminatory animus, and that the false testimony led

to the denial of Plaintiff’s grievance. (DE 44 at 4-5) She also argues that the

participation in the grievance hearing by Cassell, Dismukes, and Elder demonstrates

the conspiratorial agreement between them to deprive Plaintiff of her constitutional

rights. (Id. at 12)

      The allegations actually made in Plaintiff’s Amended Complaint do not support

these conclusory arguments in her brief.

      Even if they did, allegations of false statements during Plaintiff’s grievance

hearing cannot be used to make a viable claim against any defendant here. Absolute

immunity attached to all witnesses and attorneys for relevant statements made

during the grievance hearing. See Edwards v. Parrish Tire Co., 2019 U.S. Dist.

LEXIS 152041, *7-10 (M.D.N.C. Sept. 6, 2019) (recognizing immunity over

statements made in EEOC proceedings); Clausell v. Bayer Corp., 2015 U.S. Dist.

LEXIS 116282, at *21 (E.D.N.C. Aug. 31, 2015) (recognizing that the testimonial

privilege applies in quasi-judicial matters, including those involving fact-finding by

“administrative officers”); see also Wall v. Blalock, 245 N.C. 232, 232-33, 95 S.E.2d

450, 451 (1956) (recognizing that attorneys also have an “absolute” privilege to make

material and pertinent statements in contested proceedings). Accordingly, to the

extent Plaintiff seeks to hold defendants liable based on allegedly false, yet

privileged, statements made during a quasi-judicial proceeding, her claims fail as a

matter of law and must be dismissed.



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II.   THE “FINAL AGENCY DECISION” IS NOT SUFFICIENT TO STATE A
      CLAIM AGAINST STEIN.

      Plaintiff argues in her opposition brief that Stein “was individually involved”

in the non-promotion decision “probably before it was made,” but “definitively” after

it was made, because Stein’s Chief of Staff (Seth Dearmin) “signed the final agency

decision” from her grievance hearing. (DE 44 at 4) To substantiate that assertion,

Plaintiff has filed that “final agency decision,” in which Mr. Dearmin found no

evidence of discrimination, as an exhibit to her response brief. (DE 44-1) Stein’s

name is listed atop the NCDOJ letterhead on which the final agency decision was

presented but the document makes no other reference to Stein.

      Plaintiff’s reliance on the contents of the “final agency decision” in opposition

to the motion to dismiss is misplaced for two reasons.

      First, the final agency decision is neither attached to nor incorporated into the

Amended Complaint. Mr. Dearmin’s name is not even mentioned in the Amended

Complaint. Therefore, the exhibit attached to Plaintiff’s motion, and the assertions

made by Plaintiff in her brief relating Mr. Dearmin’s role in that decision, should be

disregarded by the Court on this motion to dismiss. See Escander v. McCarthy, 2021

U.S. Dist. LEXIS 67448, *4-5 (E.D.N.C. Apr. 7, 2021) (recognizing that documents

not incorporated into the complaint, or integral to the complaint, should be

disregarded on a motion to dismiss).

      Second, even if this Court considered the “final agency decision,” that

document does not support Plaintiff’s claim against Stein. Plaintiff does not allege

any basis for her conclusion that Dearmin and Stein should be treated as one and the

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same. Moreover, the applicable standard is not whether Stein was aware of Plaintiff’s

non-promotion. Instead, as Plaintiff appears to acknowledge, she has the burden of

pleading, among other things, actual or constructive knowledge by Stein of conduct

that posed a severe or pervasive risk of constitutional injury.      (DE 42 at 12-13

(collecting cases)) Plaintiff has not alleged that Stein received the “final agency

decision.” But even if she had made that allegation, the stated conclusion in the

document is that Dearmin found no evidence to substantiate Plaintiff’s claim of

discrimination, which undermines her argument completely. There is nothing in the

document which provides a factual basis for asserting discriminatory decision-

making, let alone any approval, by Stein of such conduct.

       In short, Plaintiff’s attempted reliance on the contents of the “final agency

decision” does not save her claims against Stein. The Court should grant his motion

to dismiss.

III.   THE COURT SHOULD DISMISS THE CLAIMS WITH PREJUDICE.

       When ruling a Rule 12(b)(6) motion, the district court has the discretion to

dismiss claims with or without prejudice. See Adbul-Mumit v. Alexandria Hyundai,

LLC, 896 F.3d 278, 292 (4th Cir. 2018). In her opposition brief, Plaintiff refers to

further amendments that she would make if given yet further leave to amend. (DE

44 at 9-10, 12)

       Plaintiff already has been afforded the opportunity to amend after having

reviewed Defendants’ motion to dismiss the original complaint. (DE 26, 28, 30, 32,

35) She failed to correct the deficiencies in her Amended Complaint and continued

to rely primarily on conclusory allegations with no basis in alleged fact. Accordingly,
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the Court need not provide Plaintiff an opportunity to replead, and should grant

Defendants’ motion by dismissing the claims at issue with prejudice. See, e.g., Fuller

v. Jackson, 2022 U.S. Dist. LEXIS 45285, at *5 (E.D.N.C. Feb. 24, 2022) (dismissing

claims without leave to amend since plaintiff’s allegations were “wholly conclusory”);

Wiggins v. Jackson, 2022 U.S. Dist. LEXIS 71041, *3-4 (E.D.N.C. Feb. 15, 2022)

(dismissing claims with prejudice when plaintiff already had the opportunity to

amend).

                                  CONCLUSION
      For the foregoing reasons and those in Defendants’ opening brief, Defendants

respectfully request that the Court grant their motion to dismiss.



      Respectfully submitted, this the 26th day of May, 2022.
                                       MORNINGSTAR LAW GROUP


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                           CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a copy of the foregoing Defendants’ Reply

Memorandum of Law In Support of Their Motion to Dismiss Amended Complaint was

this day served by filing the document electronically via the CM/ECF system, which

will send notification of such filing to the following participants:


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                                         This the 26th day of May, 2022.

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                                         /s/ Shannon R. Joseph_________
                                         Attorney for Defendants




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